Case 2:19-cv-00373-APG-EJY Document 148-20 Filed 04/20/20 Page 1 of 2




            EXHIBIT "S"
      Transcript of Voicemail Message
        Perez left on April 18, 2017




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Case 2:19-cv-00373-APG-EJY Document 148-20 Filed 04/20/20 Page 2 of 2




                          APRIL 18, 2017 VOICEMAIL FROM SANDRA PEREZ



              Hi. My name is Sandra Perez. My phone number is 702-857-1306. I work for Sbarro and T

      used to work for, ub, Zach, Zachariah at Monte Carlo. I suffer from a lot of sexual harassment

     there. They send me to Bally. Yes, I believe these people, they going to [unintelligible] me with,

     uhm, uh, yes [unintelligible] because of a lot of wrong things I've been seeing like they don't give

     me my, my schedule, my hours. I have been asking for overtime like everybody else. Everybody

     else has over time and they give ine special treatment because I told these people about the sexual

     harassment. Nobody, not any manager report about this, how they made me feel, how they made

     me feel about the treatment they been giving to me lately. Horrible.      Yes, I wait, I have a lot of

     patience, I wait just for, um, for the treatment, like I wanted they beat me like everybody else. But


    no, they chose to give me a hard time and special treatment in my work. So I'm going to get a

    lawyer. So, 1 talked to Dana. I told about what happened to me and they give me my, because they

    take me from the schedule. One month, they don't give me, um, [unintelligible] they take me from

    the schedule and now, um, they been giving me a hard time. They give everybody else a lot of over

    time except me. And, um, I feel so sad. And now they, I used to work in the daytime and now I


    work graveyard. And, uh, I don't know, I feel, I feel so bad right now, I feel so upset. Um, I have


    my day off tomorrow and I'm going to get a lawyer. I, I can't believe these people to working for

    the, um, corporation. I can't believe that, yes, I can't believe that, um, the company, they don't care

    about these people. 1 am a hard working woman. I can, um, I can talk a lot of good things about


   me, but, no, they chose always to treat me differently. Please, please, I hope.




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